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 1   McGREGOR W. SCOTT
     United States Attorney
 2   JOHN K. VINCENT
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2700
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 6
 7
 8                               IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                          )      CASE NO. No. 2:06-cr-00494-MCE
                                                         )
12               Plaintiff,                              )      STIPULATION AND PROPOSED ORDER
                                                         )      RE: MOTION FOR EARLY PRODUCTION
13    v.                                                 )      OF DOCUMENTS PURSUANT TO FED. R.
                                                         )      CRIM. P. 17
14    MARQUIS D. AIKENS, et al.                          )
                                                         )      DATE: December 6, 2007
15               Defendants.                             )      TIME: 9:00 a.m.
                                                         )      CTRM: HON. MORRISON C. ENGLAND
16                                                       )
17
18          The United States filed a motion for an order authorizing the early production of documents
19   pursuant to a trial subpoena.   The proposed trial subpoena requests the production of records from the
20   Bank of America for one of the defendants - Alex Baker.
21          The defendants, through their counsel, and the attorney for the government stipulate that the
22   government’s motion should be GRANTED with the understanding that the government will make
23   available for inspection and copying by the defense any materials produced in response to the subpoena.
24
25          IT IS SO STIPULATED.
26   DATED: December 3, 2007
27                                                           __/s/ Michael Bigelow________
                                                             MICHAEL BIGELOW, ESQ.
28                                                           Attorney for defendant Marquis Aikens

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 1   DATED: December 3, 2007
 2                                                       __/s/ Tim Warriner___________
                                                         TIM WARRINER, ESQ.
 3                                                       Attorney for defendant Marquis Jackson
 4
 5   DATED: December 3, 2007
 6                                                       __/s/ Ned Smock______________
                                                         NED SMOCK, ESQ.
 7                                                       Assistant Federal Defender
                                                         Attorney for defendant Alex Baker
 8
 9   DATED: December 3, 2007
10                                                       ___/s/ Emmett Mahle___________
                                                         EMMETT MAHLE, ESQ.
11                                                       Attorney for defendant Brandon Dean
12
     DATED: December 3, 2007
13
                                                         __/s/ John K. Vincent___________
14                                                       JOHN K. VINCENT
                                                         Assistant U.S. Attorney
15
16                                                 ORDER
17          In light of applicable law and the foregoing stipulation, and GOOD CAUSE APPEARING
18   THEREFORE, it is hereby ordered that the government’s motion under Fed. R. Crim. P. 17 for the
19   early production of documents pursuant to a trial subpoena is GRANTED. The government will make
20   available for inspection and copying by the defense any materials produced in response to the subpoena.
21   The subpoena may direct that any records be produced to the United States Attorney’s Office on or
22   before December 27, 2007.
23          IT IS SO ORDERED.
24
      Dated: December 4, 2007
25
                                                    ________________________________
26                                                  MORRISON C. ENGLAND, JR.
27                                                  UNITED STATES DISTRICT JUDGE

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